                      Case 2:23-cv-00226-DJH Document 3-12 Filed 02/03/23 Page 1 of 2

  AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the
                                                             District
                                                     __________       of Arizona
                                                                District of __________

Valentino Dimitrov, individually, and on behalf of all others similarly      )
situated;                                                                    )
                                                                             )
                   Plaintiffs,                                               )
vs.                                                                          )              Civil Action No.
                                                                             )
                                                                                            CV-23-00226-PHX-DJH
Stavatti Aerospace, Ltd, a Minnesota corporation; Stavatti Aerospace, Ltd, a )
Wyoming corporation; Stavatti Corporation, a Minnesota corporation; Stavatti )
Immobiliare, Ltd, a Wyoming corporation; Stavatti Industries, Ltd, a )
Wyoming corporation; Stavatti Niagara, Ltd, a New York corporation; )
Stavatti Super Fulcrum, Ltd, a Wyoming corporation; Stavatti Ukraine, a )
Ukrainian business entity; Stavatti Heavy Industries Ltd, a Hawaii )
corporation; Christopher Beskar and Maja Beskar, husband and wife; Brian )
Colvin and Corrina Colvin, husband and wife; John Simon and Jean Simon, )
husband and wife; William Mcewen and Patricia Mcewen, husband and wife; )
Rudy Chacon and Jane Doe Chacon, husband and wife; and DOES 1 through )
10, inclusive,                                                               )
                  Defendants.                                                )
                                                          SUMMONS IN A CIVIL ACTION


To: (Defendant’s name and address                 William Mcewen and Patricia Mcewen
                                                  10050 GREAT HILLS TRL,. APT, 606
                                                  AUSTIN, TX 78759-5843

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on y )ou (not counting the day you received it) — or 60 days if
you are the United States or a United States agency, or an officer )or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:            GEORGE K. CHEBAT
                                       Enara Law, PLLC
                                       7631 East Greenway Road, Suite B-2, Scottsdale, Arizona 85260
                                       Telephone: (602) 687-2010
        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.
                                                                             CLERK OF COURT

  Date:
                                                                                         Signature of Clerk or Deputy Clerk
                       Case 2:23-cv-00226-DJH Document 3-12 Filed 02/03/23 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. CV-23-00226-PHX-DJH

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
